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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 1:08CR084-P-D

JIMMY D. SMITH,                                                                DEFENDANT.

                                 ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant’s Motion for Continuance [18]. After

due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for December 8, 2008. Defense counsel requests a continuance to afford

more time to meet with the defendant, complete inspection of discovery material, prepare any

necessary pretrial motions, and to engage in plea negotiations.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from December 8, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant’s Motion for Continuance [18] is GRANTED;

       (2) Trial of this matter is continued until Monday, Monday February 23, 2009 at 9:00 a.m.

in the United States Courthouse in Greenville, Mississippi;


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       (3) The delay from December 8, 2008 to February 23, 2009 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is February 2, 2009; and

       (5) The deadline for submitting a plea agreement is February 9, 2009.

       SO ORDERED this the 1st day of December, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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